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                 5                                  UNITED STATES DISTRICT COURT
                 6                                         DISTRICT OF NEVADA
                 7                                                    ***
                 8       UNITED STATES OF AMERICA,                            Case No. 2:12-CR-463 JCM (VCF)
                 9                                            Plaintiff(s),                     ORDER
               10               v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                           Defendant(s).
               13
               14              Presently before the court is defendant Frederick Williams’s motion to advance or continue
               15       his sentencing hearing. (ECF No. 801).
               16              The court recently granted in part and denied in part Mr. Williams’s motion to continue his
               17       sentencing hearing by forty-five days, opting to continue the hearing for a shorter period of time
               18       based on the fact that the hearing had already been continued multiple times. (See ECF No. 791).
               19              Defendant’s counsel now represents that she will be out of the district on the date set by
               20       the court. She suggests either advancing the hearing to one week before the date set by the court
               21       or continuing it to one week after the date set by the court. Counsel represents that she has
               22       discussed her motion with the government and that it does not oppose the motion. The court finds
               23       that good cause appears to advance the hearing by one week.
               24              Accordingly,
               25              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Frederick
               26       Williams’s motion to advance or continue his sentencing hearing (ECF No. 801) be, and the same
               27       hereby is, GRANTED.
               28

James C. Mahan
U.S. District Judge
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                1            IT IS FURTHER ORDERED that defendant Frederick Williams’s sentencing hearing
                2     currently scheduled for Friday, July 29, 2016, at 10:00 A.M. be VACATED and ADVANCED to

                3     Monday, July 18, 2016, at 10:00 A.M.

                4            DATED June 27, 2016.
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                6                                              __________________________________________
                                                               UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                             -2-
